 

Case 1:18-cr-02849-JAP Document 18 Filed 08/29/18 Page 1 of 4

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IN THE UNITED STATES DISTRICT COURT yitep states DISTRICT COURT

ALBUQUERQUE, NEW MEXICO

FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
Plaintiff,
VS.

LUCAS PAEZ and
MARK WENTWORTH,

Defendants.

The Grand Jury charges:

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Count 1

AUG 2 9 2018

CRIMINAL NO. _[A- LAU mv

Count 1: 21 U.S.C. § 846: Conspiracy;

Count 2: 21 U.S.C. §§ 841(a)(1) and
(b)(1)(A): Distribution of 500 Grams
and More of Mixture and Substance

Containing Methamphetamine; 18
U.S.C. § 2: Aiding and Abetting;

Count 3: 18 U.S.C. § 924(c): Using and
Carrying a Firearm During and in
Relation to a Drug Trafficking Crime,
and Possessing a Firearm in
Furtherance of Such Crime.

INDICTMENT

Beginning on a date unknown, but not later than May 26, 2017, and continuing to on or

about August 15, 2018, in Bernalillo County, in the District of New Mexico, and elsewhere, the

defendants, LUCAS PAEZ and MARK WENTWORTH, unlawfully, knowingly and

intentionally combined, conspired, confederated, agreed, and acted interdependently with each

other and with other persons whose names are known and unknown to the Grand Jury to commit

an offense defined in 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), specifically, to distribute 500 grams

and more of a mixture and substance containing a detectable amount of methamphetamine.

In violation of 21 U.S.C. § 846.
 

Case 1:18-cr-02849-JAP Document 18 Filed 08/29/18 Page 2 of 4

Count 2

On or about August 7, 2018, in Bernalillo County, in the District of New Mexico, the
defendants, LUCAS PAEZ and MARK WENTWORTH, unlawfully, knowingly and
intentionally distributed a controlled substance, 500 grams and more of a mixture and substance
containing a detectable amount of methamphetamine.

In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), and 18 U.S.C. § 2.

Count 3

On or about August 7, 2018, in Bernalillo County, in the District of New Mexico, the
defendant, MARK WENTWORTH, during and in relation to a drug trafficking crime for
which the defendant may be prosecuted in a court of the United States, specifically, distribution
of methamphetamine as charged in Count 2 of this indictment, knowingly used and carried a
firearm, and in furtherance of such crime, possessed said firearm.

In violation of 18 U.S.C. § 924(c).

FORFEITURE ALLEGATION

The allegations contained in Counts | and 2 of this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to Title 21, United
States Code, Section 853.

Pursuant to Title 21, United States Code, Section 853, upon conviction of an offense in
violation of Title 21, United States Code, Section 841, the defendants, LUCAS PAEZ and
MARK WENTWORTH, shall forfeit to the United States any property constituting, or derived
from, any proceeds obtained, directly or indirectly, as the result of such offenses and any

property used, or intended to be used, in any manner or part, to commit, or to facilitate the

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Case 1:18-cr-02849-JAP Document 18 Filed 08/29/18 Page 3 of 4

commission of, the offense(s). The property to be forfeited includes, but is not limited to, the

following:

1. PERSONAL JUDGMENT

A sum of money not to exceed $11,980 representing the property constituting, or derived

from, any proceeds that the defendants, LUCAS PAEZ and MARK WENTWORTH, obtained,

directly or indirectly, as a result of the offenses set forth in Counts 1, 2 and 3.

2. REAL PROPERTY

a. The real property located at 529 Los Ranchos Rd. NW, Albuquerque, NM

87107, Parcel ID No. 1 014 063 522 415 10802, and Legal Description

MRGCD MAP #27 TRACTS 61D & 62C CONT 8,275 SQ FT +-.

3. PERSONAL PROPERTY

a. $11,980 in the possession of the defendant, MARK WENTWORTH, at the

time of his arrest on August 7, 2018; and

b. $4,500 in the possession of the defendant, LUCAS PAEZ, at the time of his

arrest on August 7, 2018.

If any of the property described above, as a result of any act or omission

of the defendants, LUCAS PAEZ and MARK WENTWORTH:

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cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided
without difficulty,
 

Case 1:18-cr-02849-JAP Document 18 Filed 08/29/18 Page 4 of 4

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of any other

property of the defendant up to the value of the forfeitable property described above.

A TRUE BILL:
/s/

 

FOREPERSON OF THE GRAND JURY

Assistant, United States Atigrayy
